Case 4:12-cr-00272 Document1i_ Filed on 05/09/12 in TXSD Page 1of13

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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF TEXAS MAY 0.9 2012
HOUSTON DIVISION

David J. Bradley, Clerk of Court
UNITED STATES OF AMERICA §
VS. § CRIMINAL NO. fae 2 C 2
§
TERRY GLENN SILLERS, § COUNT I: 18 U.S.C. § 1962(d): Conspiracy
§ to Participate in a Racketeering Enterprise
a/k/a “Lil Wood” §
Defendant §
INDICTMENT
COUNT ONE

(Conspiracy to Participate in Racketeering Activity)

THE UNITED STATES GRAND JURY CHARGES:
Introduction
l. At various times relevant to this Indictment, the defendant and others known and
unknown, were members of the Aryan Brotherhood of Texas (hereinafter the “ABT”), a criminal
organization whose members and associates engaged in narcotics distribution and acts of violence,
involving murder and assault, and which operated throughout Texas, including the Southern District
of Texas, and elsewhere.
Structure of the Enterprise
2. The structure of the ABT included, but was not limited to, the following:
a. The ABT was a violent “whites only” prison-based gang with thousands of

members operating inside and outside of state and federal penal institutions throughout Texas and

the United States.

b. The traditional power centers of the ABT, and members of the gang’s
Case 4:12-cr-00272 Document1i Filed on 05/09/12 in TXSD Page 2 of 13

leadership structure, were predominately located in prisons operated by the Texas Department of
Criminal Justice (hereinafter the “TDCJ’”) and metropolitan areas throughout Texas. The ABT was
established in the early 1980's within TDCJ. The ABT modeled itself after and adopted many of the
precepts and writings of the Aryan Brotherhood, a California-based prison gang that was formed in
the California prison system during the 1960’s. The ABT offered protection to “white” inmates if
they joined the gang.

C. The ABT had a detailed and uniform organizational structure, which is
outlined - along with various rules, procedures, and code of conduct - in a written “Constitution”
widely distributed to members throughout Texas, and elsewhere.

d. In Texas there were two competing ABT factions. Each faction followed the
leadership of their respective faction, Fach faction had similar chain of command structures and had
a defined militaristic ranking structure. ABT members referred to the gang as the “Family.” The
hierarchy of each faction was broken up into separate TDCJ regions. Each Region included a
“General,” several “Majors,” “Captains,” “Lieutenants,” “Sergeant-at-Arms,” and numerous
“Soldiers.” The General was the hi chest authority within the Region. Subordinate ranking members
served to support the General, and enforce discipline and adherence by gang members of established
ABT rules and by-laws. The ABT’s ranking structure remained constant; however, personnel
changes (promotions, demotions, terminations) frequently occurred.

€, The five ABT Generals comprised a steering committee that was referred to
as the “Wheel,” which controlled all criminal aspects of the gang. Each Wheel member was
responsible for appointing his subordinate, ranking member (Majors) within his respective region.

This included appointment of an inside Major (in-custody member) and an outside Major (referring
Case 4:12-cr-00272 Document1i_ Filed on 05/09/12 in TXSD Page 3 of 13

to a member in the “free world”). These Majors, in turn, were responsible for appointing their
subordinate Captains and Lieutenants who, in turn, appointed their Sergeants. Wheel members
typically remained in place regardless of their custody status, unlike other ranking members who
typically lost rank when their custody status changed.

f. ABT leaders had the authority within the gang to issue “D.O.’s” (direct
orders) and mete out punishment. A “D.O.” was an assignment given to a subordinate ABT member
that would serve a purpose for the ABT. The “D.O.” could range from a leader ordering a “S.O.S”
(smash on sight), meaning the assault of a rival gang member or of an ABT member who had
committed a violation of the ABT rules, to a “green light,” or “X,” meaning the murder of a rival
gang member or of an ABT member who had committed an egregious violation of the gang’s rules.
Failure to perform a “D.O.” resulted in the assigned member being in violation of the rules.
Punishment for failing to complete the “D.O.” could range anywhere from a beating to death.

g. Members of the ABT greeted each other, and showed their membership in the
gang, using a hand-sign, intended to represent the letters “A” and “B.” The ABT employed a robust
symbolgy as well, using depictions of neo-Nazi era inspired symbols and artwork to demonstrate
their affiliation. Members often had tattoos incorporating one or more neo-Nazi era symbols
including but not limited to the Nazi flag, Swastika, Iron Eagle and Schutzstaffel (“SS”) lighting
bolts. The most coveted tattoo of ABT membership was the ABT patch, which could be worn only
by fully made members who generally ascended to full membership by committing a “blood-tie”
(aggravated assault or murder) on behalf of the gang. The design and shape of the patch would vary,
but usually consisted of a shield encompassing a sword, swastika, and crown - with the letters “A”

and “B” and lightning bolts of the Nazi “SS” over the top of the shield - and “Texas” under the
Case 4:12-cr-00272 Documenti1 Filed on 05/09/12 in TXSD Page 4 of 13

bottom of the shield. Phrases unique to the ABT lexicon included “GFBD,” “14-88,” “12,” 23,”
“23/16,” “28,” and “100%,” The gang also incorporated these phrases into tattoos, which they used
to show their membership in the gang. The colors associated with the ABT were black and red, and
members of the ABT often demonstrated their affiliation with the ABT by wearing clothing
containing the colors black and red, or incorporating some of the gang’s other symbols or phrases.

h. Once released from incarceration, ABT members were required to remain
loyal to the ABT and were required to immediately report to outside leaders to further the goals of
the ABT through criminal activity. One of the goals of the ABT was to recruit new members. ABT
members were recruited from both inside and outside state and federal penal institutions. In order
to be considered for ABT membership, a person had to be sponsored by another ABT member. Once
sponsored, a prospective member had to serve an unspecified term of usually not less than one year,
wherein he was referred to as a prospect, while his conduct was observed by other gang members.
During this period, the prospect was required to study and learn the ABT Constitution and the
“Prospect Schooling Guide.” The prospect was also required to sign a “Blind Faith Commitment,”
whereby he pledged an unconditional commitment to follow all orders issued by ABT superiors.
While a prospect, the individual was considered part of the ABT family and entitled to the full
protection of the gang. The prospect was also subjected to the rules and orders of the gang. If the
prospect’s conduct during the probationary period was deemed satisfactory he was admitted by a
vote of the majority of all ABT members present.

i. In addition to members, the enterprise included those closely affiliated with
the ABT, who were called “associates.” While females were not allowed to become members of the

ABT, those who associated with the ABT and engaged in criminal activity for the benefit of the ABT
Case 4:12-cr-00272 Document1_ Filed on 05/09/12 in TXSD Page 5of13

were often referred to as “featherwoods.” Associates who did not fulfill their obligations to the ABT
were sometimes subject to violence, including murder. Female associates functioned as
communication hubs, facilitating gang communication among imprisoned members throughout the
penal system through the use of the telephone, Internet and United States mail.
The Racketeering Enterprise
3. The ABT, including its leaders, members, and associates, constituted
an “enterprise,” as defined in Title 18, United States Code, Section 1961(4) (hereinafter “the
enterprise”), that is, a group of individuals associated in fact. The enterprise constituted an ongoing
organization whose members and associates, including its prospects, functioned as a continuing unit
for a common purpose of achieving the objectives of the enterprise. This enterprise was engaged in,
and its activities affected, interstate and foreign commerce.
Purpose of the Enterprise
4. The purposes of the enterprise included, but were not limited to, the following:

a. Enriching the leaders, members, and associates of the enterprise through,
among other things, the illegal trafficking of controlled substances.

b. Preserving and protecting the power, territory, operations, and proceeds of the
enterprise through the use of threats, intimidation, violence, and destruction, including, but not limited
to, acts of murder, attempted murder, assault with a dangerous weapon, and other acts of violence.

c. Promoting and enhancing the enterprise and its members’ and associates’
activities.

d. Keeping victims in fear of the enterprise and in fear of its leaders, members,

and associates through threats of violence and actual violence. The leaders, members, and associates
Case 4:12-cr-00272 Document1_ Filed on 05/09/12 in TXSD Page 6 of 13

of the enterprise undertook all steps necessary to prevent the detection of their criminal activities, and
sought to prevent and resolve the imposition of any criminal liabilities upon their leaders, members,
and associates, by the use of murder, violence, and intimidation directed against witnesses, victims,
and others,

€. Providing support to gang members who were charged with, or incarcerated
for, gang-related activities.

Manner and Means of the Conspiracy

5. The defendant agreed to facilitate a scheme that included the operation and
management of the enterprise by a conspirator. Members and associates of the enterprise operated
and conducted their affairs through a series of laws and policies, some of which were codified in a
constitution and by-laws.

a. The members and associates of the enterprise attended regular meetings,
referred to as “church,” at which they discussed, planned, and otherwise engaged in criminal activity,
including acts involving murder and narcotics distribution,

b. To enforce discipline and the rules of the enterprise, members and associates
of the enterprise, and their associates engaged in a system of “violations,” in which the defendant and
others attempted to murder, conspired to murder, physically assaulted and threatened those members
and associates of the enterprise who violated rules, questioned authority, or posed a threat to the
leaders, members, or purposes of the enterprise.

c. Members and associates of the enterprise employed and used gang-related
terminology, symbols, gestures, and color schemes.

d. To perpetuate the enterprise and to maintain and extend their power, members
Case 4:12-cr-00272 Document1_ Filed on 05/09/12 in TXSD Page 7 of 13

and associates of the enterprise committed and conspired to commit acts including murder,
intimidation, and assault against individuals who posed a threat to the enterprise or jeopardized its
operations, including rival gang members, ABT gang members of a rival ABT faction, and witnesses
to illegal activities of the enterprise.

€. Members and associates of the enterprise managed the procurement, transfer,
use, concealment, and disposal of firearms and dangerous weapons within the enterprise to protect
gang-related criminal activities, personnel, and operations, and to deter, eliminate, and retaliate
against competitors and other rival criminal organizations and persons.

f. Members and associates of the enterprise earned money for themselves
and regularly financed their activities through funds obtained in the illegal trafficking of controlled
substances, including, but not limited to, the distribution and possession with the intent to distribute
methamphetamine.

g. Members and associates of the enterprise hid, misrepresented, concealed
and caused to be misrepresented, concealed, and hidden, the objectives of acts done in furtherance
of the conspiracy, and used coded language and other means to avoid detection and apprehension by
law enforcement authorities.

The Racketeering Conspiracy
6. Beginning on a date unknown to the Grand Jury, but at least as of in or about 1985,
and continuing through on or about the date of this Indictment, in the Southern District of Texas and
elsewhere, the defendant, TERRY GLENN SILLERS, a/k/a “Lil Wood,” being a person employed
by and associated with the ABT, an enterprise engaged in, and the activities of which affected,

interstate and foreign commerce, and others known and unknown to the Grand Jury, did knowingly
Case 4:12-cr-00272 Documenti1 Filed on 05/09/12 in TXSD Page 8 of 13

and intentionally conspire to conduct and participate, directly and indirectly, in the conduct of the
affairs of the enterprise through a pattern of racketeering activity, as defined in Sections 1961 (1) and
(5) of Title 18, United States Code, consisting of multiple acts involving murder in violation of Texas
Penal Code, Sections 19.02, 15.01 and 15.02, and multiple acts involving narcotics trafficking in
violation of 21 United States Code Sections 841(a)(1) (distribution and possession with the intent to
distribute a controlled substance) and Section 846 (conspiracy to distribute and possession with the
intent to distribute a controlled substance). It was part of this conspiracy that the defendant agreed
that a conspirator would commit at least two acts of racketeering in the conduct of the affairs of the
enterprise.
Overt Acts
7. In furtherance of the conspiracy and to achieve the objective thereof, the defendant

performed or caused to be performed the following overt acts, among others, in the Southern District
of Texas and elsewhere:

a. Beginning on a date unknown to the Grand Jury, but at least as of in or about
1985, TERRY GLENN SILLERS, a/k/a “Lil Wood,” became a prospecting member of the ABT
enterprise.

b. Beginning on a date unknown to the Grand Jury, but at least as of in or about
1987, TERRY GLENN SILLERS, a/k/a “Lil Wood,” earned his “blood-tie” into the ABT by
attempting to kill and severely injuring a rival gang member.

c. Beginning on a date unknown to the Grand Jury, but at least as of in or about
1985 and continuing through 1987, TERRY GLENN SILLERS, a/k/a “Lil Wood,” committed at

least five assaults against certain inmates whom the ABT believed to be rival gang members and other
Case 4:12-cr-00272 Document1 Filed on 05/09/12 in TXSD Page 9 of 13

prisoner inmates.
d. Beginning on a date unknown to the Grand Jury, but at least as of in or about
1987, TERRY GLENN SILLERS, a/k/a “Lil Wood,” became a “fully-made” member of the ABT
enterprise.
e. Beginning on a date unknown to the Grand Jury, but at least as of in or about
1985, and continuing through 1993, TERRY GLENN SILLERS, a/k/a “Lil Wood,” and other
members of the ABT distributed methamphetamine.
f. Beginning on a date unknown to the Grand Jury, but at least as of in or about
1992, TERRY GLENN SILLERS, a/k/a “Lil Wood,” was promoted to the rank of “inside”
Lieutenant for the ABT enterprise over the Michaels Unit of TDCI.

g. Beginning on a date unknown to the Grand Jury, but at least as of in our
about 1993, TERRY GLENN SILLERS, a/k/a “Lil Wood,” was promoted to the rank of “inside”
Captain by the ABT enterprise over the Dalhart Unit of TDCJ.

h. Beginning on a date unknown to the Grand Jury, but at least as of in or about
1993, and continuing through 1994, TERRY GLENN SILLERS, a/k/a “Lil Wood,” controlled all
ABT enterprise criminal activity at the Dalhart Unit of TDCJ.

i. Beginning on a date unknown to the Grand Jury, but at least as of in or about
1993, and continuing through 1994, TERRY GLENN SILLERS, a/k/a “Lil Wood,” ordered
subordinate gang members to assault certain individuals whom the ABT believed to be rival gang
members.

j. Beginning on a date unknown to the Grand Jury, but at least as of in or about

1995, and continuing through 1997, TERRY GLENN SILLERS, a/k/a “Lil Wood,” and other
Case 4:12-cr-00272 Document1 Filed on 05/09/12 in TXSD Page 10 of 13

members of the ABT enterprise distributed cigarettes at the Dalhart and Stiles Units of TDCJ.

k. Beginning on a date unknown to the Grand Jury, but at least as of in or about
1999, TERRY GLENN SILLERS, a/k/a “Lil Wood,” assumed control over all ABT criminal
activity at the Mineral Wells Unit of TDCJ for the ABT enterprise.

1. Beginning on a date unknown to the Grand Jury, but at least as of in or about
March 1999, and continuing through September 1999, TERRY GLENN SILLERS, a/k/a “Lil
Wood,” ordered subordinate ABT gang members to attack and kill certain inmates at the Mineral
Wells BOP facility whom the ABT believed to be rival gang members .

m. Beginning on a date unknown to the Grand Jury, but at least as of in or about
1999, TERRY GLENN SILLERS, a/k/a “Lil Wood,” was promoted to the rank of “outside” Major
for region two of the ABT enterprise.

n. Beginning on a date unknown to the Grand Jury, but at least as of in or about
September 1999, and continuing through May 2000, TERRY GLENN SILLERS, a/k/a “Lil
Wood,” presided over numerous ABT “church” meetings where criminal activity was discussed and
beatings of fellow ABT gang members were administered.

0. Beginning on a date unknown to the Grand Jury, but at least as of in or about
September 1999, and continuing through May 2000, TERRY GLENN SILLERS, a/k/a “Lil Wood,”
and other ABT gang members distributed methamphetamine.

p. In or about March 2000, TERRY GLENN SILLERS, a/k/a “Lil Wood,”
attempted to kill a fellow ABT gang member.

q. Beginning on a date unknown to the Grand Jury, but at least as of in or about

2000, a division within the ABT resulted in two separate rival ABT factions, and the ABT enterprise

10
Case 4:12-cr-00272 Document1 Filed on 05/09/12 in TXSD Page 11o0f13

faction to which TERRY GLENN SILLERS, a/k/a “Lil Wood,” held allegiance issued a “green
light” (order to kill) for individuals whom the ABT enterprise believed to be members of the rival
faction.

I. On or about April 2008, TERRY GLENN SILLERS, a/k/a “Lil Wood,”
was promoted to the rank of “General” of Region Four and the Federal Penitentiary System of the ABT
enterprise.

S. Beginning on a date unknown to the Grand Jury, but at least as of in or about
April 2008, and continuing to the present, TERRY GLENN SILLERS, alk/a “Lil Wood,” ratified
the “green light” (order to kill) for individuals whom the ABT believed to be gang members of the
rival ABT faction.

t. On or about October 12, 2008, members of the ABT enterprise killed an
individual whom the ABT enterprise believed to be a member of the rival ABT faction.

U. On or about January 9, 2009, TERRY GLENN SILLERS, a/k/a “Lil Wood,”
was the victim of an attempted murder by fellow gang members.

v. Beginning on a date unknown to the Grand Jury, but at least as of in or
about January 2010, and continuing to the present, the ABT enterprise leadership issued a “green light”
(order to kill) for those fellow gang members who attempted to kill TERRY GLENN SILLERS,
a/k/a “Lil Wood.”

Ww. Beginning on a date unknown to the Grand Jury, but at least as of 2004 and
continuing through 2006, TERRY GLENN SILLERS, a/k/a “Lil Wood,” and other ABT gang
members filed fraudulent United States tax returns.

X. Beginning on a date unknown to the Grand Jury, but at least as of in or about

11
Case 4:12-cr-00272 Documenti1_ Filed on 05/09/12 in TXSD Page 12 of 13

2005, TERRY GLENN SILLERS, a/k/a “Lil Wood,” issued an order to kill an individual whom
the ABT believed to be a member of the rival ABT faction.

y. Beginning on a date unknown to the Grand Jury, but at least as of in or about
2005 TERRY GLENN SILLERS, a/k/a “Lil Wood,” ratified the “green light” (order to kill) for a
fellow ABT gang member.

Z. Beginning on a date unknown to the Grand Jury, but at least as of 2007, and
continuing through 2010, TERRY GLENN SILLERS, a/k/a “Lil Wood,” sanctioned in advance the
stabbing of numerous individuals whom the ABT enterprise believed to be rival gang members and
other prisoner inmates in the BOP system.

aa. In or about February 2011, TERRY GLENN SILLERS, a/k/a “Lil Wood,”
was the senior ABT leader at an ABT enterprise “church” meeting where several ABT gang members
were beaten.

bb. In or about May 2011, TERRY GLENN SILLERS, a/k/a “Lil Wood,”
ordered the beating of a fellow ABT gang member.

NOTICE OF SPECIAL SENTENCING FACTORS

ce. Beginning on or about March 2011, and continuing through and including June
2011, within the Northern District of Texas and elsewhere, the defendant, TERRY GLENN
SILLERS, a/k/a “Lil Wood,” knowingly and intentionally conspired to distribute and possess with
the intent to distribute 500 grams or more of a mixture or substance containing a detectable amount
of methamphetamine and/or 50 grams or more of methamphetamine (actual), in violation of Title 21,
United States Code, Section 846 and 841.

All in violation of Title 18, United States Code, Section 1962(d).

12
Case 4:12-cr-00272 Document 1 Filed on 05/09/12 in TXSD =Page 13 of 13

A TRUE BILL

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Original Signature on File

OREPERSON OF THE GRAND JURY

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zh David Karpel
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Organized Crime and Gang Section

13
